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September 17, 2024

VIA ECF

The Honorable Robyn F. Tarnofsky
United States Magistrate Judge
Southern District of New York

500 Pearl Street

New York, NY 10007

Re: United States v. Sean Combs, 24 Cr. 542

Dear Judge Tarnofsky:

Mr. Sean Combs, through his counsel, submits this letter to the Court for release on certain
specified conditions. Yesterday evening, Mr. Combs was arrested on an Indictment charging him
with the following offenses: 18 U.S.C. § 1962(d); 18 U.S.C. § 1591(a)(1), 18 U.S.C. § 1591(b)(1),
18 U.S.C. § 1594(a) and 2; 18 U.S.C. § 2421(a) and 2. For the reasons set forth below, we ask this
Court to release Mr. Combs pursuant to our proposed bail package.

This letter will walk the Court through a series of actions taken by Mr. Combs over the
past six months that prove that he is not a risk of flight or a danger to anyone in the community.
These actions prove that Mr. Combs is eminently trustworthy, that he is demonstrably committed
to showing his innocence in Court in the context of this case, and that he should be released, on
the conditions proposed, in order to do so.

The first thing the Court should know is that when it became apparent to his counsel that
Mr. Combs would at some point soon be formally charged, he did something extraordinary: He
left his home in Miami and travelled to New York, the very location of the prosecutors and agents
investigating him. Through counsel, Mr. Combs promptly told the Government that he had
voluntarily come to New York, offered to tell them specifically where he was, and offered to turn
himself in at the appropriate time. Even though Mr. Combs came to New York, authorized his
lawyers to tell the Government of his location, and offered to self-surrender, the Government
effected an arrest last evening. This, we know, is the Government’s right. However, that he
travelled to New York to self-surrender is also something the Court should consider.

This was not the first action Mr. Combs took to show his trustworthiness and lack of flight
risk. Indeed, it is part of a pattern since even before the March 25, 2024, searches on Mr. Combs’
residences. Mr. Combs and his counsel have been fully aware that the United States Attorney for
the Southern District of New York has been conducting an investigation involving allegations
concerning Racketeering and Sex Trafficking, and other offenses. Knowing for these many
months that he would be indicted, Mr. Combs has done everything (as will be set out below) to
work with the prosecutors in ways that are unusual, if not unprecedented.

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In light of these circumstances, he can rebut the presumption of detention here due to his
extraordinary actions in this investigation. Mr. Combs should be released on the conditions
proposed so that he can fight this case in Court effectively.

The Proposed Package

The defense proposes the following bail package:
a. A $50,000,000 bond;

b. Co-signed by Sean Combs, his mother, his sister, the mother of his oldest daughter,
and his three adult sons;

c. Secured by the equity in Mr. Combs’ residence located at 2 West Star Island in
Miami, Florida:
a. The appraised value of the home is about $48,000,000. '
b. The home is unencumbered. In anticipation of this bail hearing, on August 20,
2024, Mr. Combs paid off the remaining mortgage of about $18,000,000 so that
the home could be used to secure a bond and be free of a mortgage.”

d. Secured by the equity of Mr. Combs’ mother’s home located at 450 Alton Rd. in
Miami, Florida;

e. Mr. Combs’ travel will be restricted to the Southern District of Florida and the Southern
District of New York (to attend Court, meet with his counsel, and attend medical
appointments, which we will address to the Court in a separate, sealed, submission) as
well as the Eastern District of New York or the District of New Jersey (only to the
extent that his travel to and from New York involves an airport in those Districts);

f. Mr. Combs’ passport was surrendered to his counsel on April 1, 2024; his counsel
advised the prosecutors of this fact in an email dated the same day;? counsel will
provide this passport to Pretrial Services;

g. The passports of the following family members, who have already surrendered their
passports to counsel after the raids on Mr. Combs’ homes:
a. Janice Combs;

b. Chance Combs;

c. Jessie Combs;

d. D’Lila Combs; and
e. Love Combs.

' The written appraisal is attached as Exhibit 1.
* The satisfaction of the mortgage is attached as Exhibit 2.
* The letter to the prosecutors is attached as Exhibit 3.
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h. Since at least April 2024, Mr. Combs has been making efforts to sell his airplane. We
informed the Government of these efforts in May 2024, as explained further below.
Just this weekend, Mr. Combs entered into a Letter of Intent with a party to sell it.
Mr. Combs understands he is not to travel to Los Angeles, where the plane had been
located this week, and further that the plane is not to be brought to any District in which
he is located until it is sold;4

i. Home detention with GPS monitoring; and
j. All other standard conditions of pretrial supervision.

The History of This Investigation Shows a Great Degree of Collaboration Between the
Government, Mr. Combs and His Counsel Which Should Weigh Heavily in This Court

Releasing Him on the Conditions Proposed

On March 13, 2024, counsel for Mr. Combs emailed the assigned Assistant United States
Attorneys. In this introductory mail, counsel identified himself as counsel for Mr. Combs and
stated that he wished to speak with the prosecutors and share information about Mr. Combs and
the matters under investigation. See Ex. 4. After not hearing back from the AUSAs, counsel again
emailed the prosecutors on March 18, 2024. Counsel did not get a response to this second email
either.

On March 25, 2024, search warrants were executed at Mr. Combs’ places of residence in
Miami and Los Angeles. In addition, he was removed from his airplane and searched. The
searches of the residences were unusually public and particularly heavy-handed. The agents had
assault rifles trained on the heads and the chests of his children, who were then handcuffed and
brought before news cameras and a press helicopter. On the day of the searches, counsel called
the prosecutors, and they spoke for the first time. Counsel indicated that he would accept service
of two grand jury subpoenas to Mr. Combs’ businesses.

1. Counsel Took Possession of Mr. Combs’ Passport on April 1, 2024

About a week following the searches, on April 1, 2024, counsel took possession of
Mr. Combs’ U.S. passport. As noted, on this same day, counsel advised the AUSAs of the fact
that counsel had Mr. Combs’ passport, that we would not return it to him, and that he would not
leave the country during the pendency of the investigation. See Ex. 1. We have, in fact, maintained
the passports, and Mr. Combs has not, in fact, left the country — despite knowing the investigation
was ongoing, despite having a plane at his disposal, despite not being charged with any crime.

4 As of this morning, the plane is in Teterboro, NJ, for a charter flight.
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2. Counsel Agreed to Advise the Government of All Domestic Travel

Moreover, counsel advised the Government that if Mr. Combs intended to travel
domestically, counsel would so inform the AUSAs. See Ex. |. These two promises have also
been kept. For example, on June 9, 2024, counsel advised the AUSAs that Mr. Combs was
traveling from Miami to Los Angeles to go on a road trip with his children. See Ex. 5. In addition,
we provided the AUSAs with information about when his flight departed and it would land. Id.
On June 29, 2024, counsel emailed the prosecutors that Mr. Combs was flying to Wyoming via a
chartered aircraft. See Ex. 6 at 3. On July 5, 2024, counsel emailed the prosecutors that he was
traveling back to Los Angeles. Id. Two days later, on July 7, 2024, when he traveled back to
Miami via a chartered aircraft, we again emailed the AUSAs. Id. at 2. In addition, when Mr.
Combs planned travel but not take those trips, we notified the prosecutors of that as well. See id.
at I.

3. Counsel Advised the Government of Mr. Combs’ Efforts to Sell His Airplane

On May 21, 2024, counsel advised the AUSAs during a phone call that Mr. Combs had
commenced efforts to sell his airplane. We followed up on that conversation the next day, on May
22, 2024, with a letter to the AUSAs that efforts were underway to sell the aircraft and reminding
the AUSAs that counsel continued to be in possession of his passport. See Ex. 7.

Over the past several months, there have been several potential buyers for the airplane and
at least two buyers have signed a Letter of Intent to purchase the aircraft. Just this weekend, a
buyer for the aircraft and representatives for Mr. Combs executed a Letter of Intent. Due to the
nature of this asset, and the amount of inspection and due diligence that is required for a purchase,
it is not a simple asset to offload.

In advance of the plane being sold — which it eventually will be — we have agreed to keep
the airplane in Los Angeles while Mr. Combs resides in his home in Florida, if it is not being
chartered. Coincidentally, and not at Mr. Combs’ request, last night, the airplane was chartered
on a Part 135 flight® from Los Angeles to Teterboro, NJ. Mr. Combs had no advance knowledge
of the flight, nor did he possess any control over its movement last night. Obviously, Mr. Combs
agrees to not go to any state — in this case, New Jersey — in which his airplane is located pending
its sale, which is actively being pursued.

4. Mr. Combs Voluntarily Relocated to New York in Advance of His Arrest

Once it became apparent to counsel that Mr. Combs’ arrest was imminent, he promptly
relocated to New York City. On September 5, 2024, Mr. Combs arrived in New York, and counsel
immediately informed the Government of Mr. Combs’ whereabouts. Counsel offered to

> Pursuant to the Code of Federal Regulations Part 135 (“Part 135’), a private jet may be available
to the general public for use. Part 135 pertains to Mr. Combs’ airplane, and, therefore, can be
chartered by the general public.
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continually share Mr. Combs’ location with the government. Since arriving in New York on
September 5, Mr. Combs has been staying at the Park Hyatt New York. Due to bookings made at
the Park Hyatt prior to Mr. Combs’ reservation, after today, September 17, 2024, he would no
longer be able to stay at the Park Hyatt. Accordingly, Mr. Combs had a reservation to stay at the
Carlyle Hotel starting today.°

Since Mr. Combs relocated to New York earlier this month, counsel has been looking for
a one-month rental for Mr. Combs in New York City. Despite counsel’s persistence, it has been
challenging to find a rental for many reasons, including because of the numerous events occurring
in New York City in September (e.g., the US Open, Fashion Week, and the UN Summit), and
some landlords’ discomfort with having Mr. Combs as a tenant given the investigation. Last night,
counsel had scheduled a viewing of a potential apartment; however, because of Mr. Combs’ arrest,
counsel and Mr. Combs obviously were not able to view the rental.

5. Counsel Advised the Government That It Was in Possession of the Passports of Members
of Mr. Combs’ Family

On June 13, 2024, counsel informed the Government that we possessed Mr. Combs’
mother’s passport. See Ex. 8. We have also informed the Government that we possessed the
passports of his four daughters (all of whom were minors at the time we took possession of the
passports).

6. Counsel’s Assistance to the Government Concerning the Subpoenas

As stated above, counsel accepted service of two subpoenas directed at several of Combs’
businesses in March of 2024. Separate counsel for the entities filed a motion to quash those
subpoenas in April of 2024. In May of 2024, upon becoming sole counsel in connection with the
criminal investigation of Mr. Combs, we advised the Court that it would withdraw the motion to
quash the Grand Jury subpoenas and instead that the parties would meet and confer with the
Government to minimize the number of requests on which the parties disagreed. Counsel agreed
to begin gathering documents responsive to the subpoena.

For the past several months, counsel for Mr. Combs and the AUSAs have had regular
discussions about what documents we had, what we did not have and, in regard to the documents
we did not have, where the Government may be able to find such documents. We did this for two
reasons. First, there was nothing, in counsel’s estimation, that would constitute evidence of
Mr. Combs being involved in any federal crime. Second, we wanted to be appropriately helpful to
the Government in its investigation. To that end, the Combs entities have produced over 144,000
pages of documents to the SDNY in compliance with the subpoena.

® The confirmation number for this reservation is 153SE224832. Counsel will provide additional
confirmatory information upon request.
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6. Paying Off The Mortgage the 2 West Star Island In Miami

As noted in the discussion about the bail package, on August 20, 2024, Mr. Combs caused
the outstanding mortgage to be paid on his primary residence in Miami. This payment of about
$18,000,000 was for one reason alone: so that he would have this $48,000,000 residence free and
clear of any encumbrances so that it can be used to secure a bond. We submit this is a truly
extraordinary measure that shows resoundingly that Mr. Combs is appropriately focused on
defending this case on the merits in this Court.

Legal Standard

Because Mr. Combs is presumed to be innocent, the Supreme Court has observed that
“liberty is the norm, and detention prior to trial or without trial is the carefully limited exception.”
United States v. Salerno, 481 U.S. 739, 755 (1987). As the Supreme Court recognizes, “the
function of bail is limited.” Stack v. Boyle, 342 U.S. 1, 4 (1954). The underling goal is securing
the presence of the defendant rather than “the sum of bail.” United States v. Nebbia, 357 F.2d 303,
304 (2d Cir. 1966). When deciding an issue of pretrial release, the Second Circuit has noted that
“the court should bear in mind that it is only a limited group of offenders who should be denied
bail pending trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987). Indeed, the Bail
Reform Act requires that the Court impose “the least restrictive . . . condition, or combination of
conditions, that will . .. reasonably assure the appearance of the person as required and the safety
of the community.” 18 U.S.C. § 3142(c)(1)(B).

While there is a presumption of detention in sex trafficking cases, this presumption is
rebuttable. The presumption imposes on the defendant a “burden of production,” while the
“burden of persuasion” remains with the Government. United States v. Mercedes, 254 F.3d 433,
436 (2d Cir. 2001). Although this burden “is not heavy,” the defendant must introduce some
evidence contrary to the presumed fact. United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir. 1991).
A defendant can satisfy this burden by coming forward “with evidence that he does not pose a
danger to the community or a risk of flight.” Mercedes, 254 F.3d at 436. Even if the defendant
presents some evidence satisfying his or her burden, “the presumption favoring detention does not
disappear entirely, but remains a factor to be considered among those weighed by the district
court.” Id. In Jessup, the benchmark case defining this burden shift, the court explained:

Since the presumption is but one factor among many, its continued consideration
by the magistrate does not impose a burden of persuasion upon the defendant. And,
since Congress seeks only consideration of the general drug offender/flight
problem, the magistrate or judge may still conclude that what is true in general is
not true in the particular case before him. He is free to do so, and to release the
defendant, as long as the defendant has presented some evidence and the
magistrate or some judge has evaluated all of the evidence with Congress’s view of
the general problem in mind.
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United States v. Jessup, 757 F.2d 378, 384 (Ist Cir. 1985).

Section 3142(g) Factors

Acknowledging that sex trafficking has a rebuttable presumption of detention, Mr. Combs
can rebut such a presumption with evidence that he does not pose a danger to the community and
is not a risk of flight. (18 U.S.C. § 3142(c)(1)(B).) An analysis of the Section 3142(g) factors
weigh in favor of releasing Mr. Combs on these conditions.

1. The Nature and Circumstances of the Offense

Mr. Combs is charged with a three-count indictment. The first count charges Mr. Combs
with a Racketeering Conspiracy in violation of 18 U.S.C. § 1962(d) (“Count One”). Count One
alleges that Mr. Combs “relied on the employees, resources, and influence of the multi-faceted
business empire that he led and controlled—creating a criminal enterprise whose members and
associates engaged in, and attempted to engage in, among other crimes, sex trafficking, forced
labor, kidnapping, arson, bribery, and obstruction of justice,” and that the conspiracy lasted
“{f]rom at least in or about 2008, through on or about the filing of this Indictment.” Indictment
41 1, 13. As alleged, the “pattern of racketeering” consisted of: (a) “multiple acts involving
kidnapping” in violation of California law; (b) “multiple acts of arson” in violation of California
law; (c) “multiple acts involving bribery” in violation of California law; (d) “multiple acts
indictable under” 18 U.S.C. § 1512, “relating to tampering with a witness, victim, or an informant”;
(e) “multiple acts indictable under “18 U.S.C. §§ 1589 and 2, “relating to forced labor’; (f)
“multiple acts indictable under” 18 U.S.C. §§ 1591 and 2, “relating to sex trafficking”); (g)
“multiple acts indictable under” 18 U.S.C. §§ 2421, 2422, and 2, “relating to transportation and
inducement to travel for purposes of prostitution and other illegal sexual activities”; and (f)
“multiple offenses involving the possession with intent to distribute, or distribution of narcotics
and controlled substances, including cocaine, oxycodone, alprazolam,  3,4-
Methylenedioxymethamphetamine, 4-Brono-2, 5-dimethoxyphenethylamine, gamma
hydroxybutyric acid, and ketamine,” in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), (b)C)CE),
(b)(2), and 846, “distribution and possession with intent to distribute and conspiracy to commit the
same” and 18 U.S.C. § 2, “aiding, abetting, and willfully causing.” Indictment J 13. Count One
also includes a “Notice of Special Sentencing Factor” in connection with Mr. Combs’ alleged
agreement that “means of force, threats of force, fraud, and coercion . . . would be used to cause
the person to engage in a commercial sex act.” Id. at { 15.

The second count charges Mr. Combs with Sex Trafficking by Force in violation of 18
U.S.C. §§ 1591 (a)(1), (b)(1), 1954(a), and 2 (“Count Two”). Count Two alleges that, “{f]rom at
least in or about 2009, up to an including in or about 2018,” Mr. Combs “recruited, enticed,
harbored, transported, and maintained a person (‘Victim-1’), and attempted, aided and abetted, and
willfully caused Victim-1, to engage in commercial sex acts, knowing and in reckless disregard of
the fact that Victim-1 was engaging in commercial sex acts as a result of force, fraud, and
coercion.” Indictment { 16.
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The third count charges Mr. Combs with Transportation to Engage in Prostitution in
violation of 18 U.S.C. §§ 2421(a) and 2 (“Count Three”). Count Three alleges that “[f]rom in or
about 2009, up to an including in or about 2024,” Mr. Combs “transported, aided and abetted, and
willfully caused the transportation of female victims and commercial sex workers in interstate and
foreign commerce on multiple occasions with the intent that they engage in prostitution.”
Indictment § 17.

The Indictment also includes forfeiture allegations pursuant to 18 U.S.C. §§ 1962, 1594,
2428, and 981(a)(1)(C), and 28 U.S.C. § 2461. Indictment §q 18-20.

2. Defendant’s History and Characteristics

Mr. Combs’ history and characteristics are best demonstrated by the way he has responded
to this investigation from the very inception to his most recent decision to travel to New York
when his lawyers told him that the case could soon be starting. He has never run from a challenge,
and he will not run from this one. Instead, he takes these challenges head on, he moves toward
them confidently and with the assurance that right is on his side. These are not merely the words
of his lawyer. Rather, the actions of Mr. Combs over the last several months conclusively prove
this.

Aside from his actions since the inception of the investigation, Mr. Combs’ character is
shown through his demonstrated contributions to society in several important areas. First, he has
given generously over his entire life to charitable causes. To name only a few examples, since
founding Bad Boy Entertainment in 1993, Mr. Combs has actively supported and donated millions
to after school programs and organizations like the Boys & Girls Clubs of America. His
commitment stems from the positive influence such programs had on his own childhood, inspiring
him to give back to similar initiatives. He has also supported organizations including the National
Foundation for Teaching Entrepreneurship (“NFTE”), further emphasizing his dedication to
creating opportunities for young entrepreneurs.

A cornerstone of his philanthropy is education, and he fulfilled a lifelong dream when he,
with a partner, opened Capital Preparatory Harlem Capital Charter School in 2016, to provide
high-quality education to inner-city youth in New York City. The success of this initiative led to
the launch of Capital Preparatory Bronx Charter School in 2020, with Combs donating $1 million
to support its development. These schools are part of his broader commitment to education, which
includes significant contributions to Historically Black Colleges & Universities, such as $2 million
to Howard University and $1 million to Jackson State University in 2023.

Mr. Combs has also been proactive in health and disaster relief efforts—having raised over
$2 million for New York City public schools and hosting a virtual dance-a-thon that raised more
than $4 million to provide personal protective equipment to healthcare workers on the front line
of the COVID-19 pandemic. Particularly important in an election year is Mr. Combs’ contribution
to mobilizing young voters with the “Vote or Die” slogan through Citizen Change, which he
founded to significantly increase political awareness and youth voter turnout.
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Second, few people have done more to advance the cause of black people in the music,
entertainment and fashion industries than has Sean Combs. While he has always been
controversial, he has also always championed minorities and underrepresented communities. As
Chairman of Combs Global, Mr. Combs has used his platform to create “The Excellence Program,”
an internship initiative with Endeavor in July 2021, a major initiative designed to provide
development opportunities for aspiring executives in entertainment, marketing, music, and fashion
from underrepresented communities. Mr. Combs’ philanthropic work has earned him numerous
accolades throughout his career, including the Triumph Award from the National Action Network
in 2016, the Superhero Award from Room to Read in 2017, the Child of America Award from the
Carver Foundation in 2018 and in 2023 the Icon Award from the Apollo.

Through his multifaceted career, Mr. Combs has not only created thousands of jobs,
including valuable internships for young professionals, but has also supported minority and
women-owned businesses, leveraging them as key suppliers and vendors for his enterprises.

Counsel will be prepared to address the factors of dangerousness to the community and
weight of the evidence in Court at the 2:30 pm initial appearance.

The Proposed Bail Package Addresses Any Issues with Flight and Danger to
the Community

In light of the proposed conditions, the actions Mr. Combs had already taken regarding the
investigation, and Mr. Combs’ lifetime commitment to live up to his obligations concerning every
challenge he has ever faced, he should be released to fight this case in court and prove his
innocence.

Sean Combs has never evaded, avoided, eluded or run from a challenge in his life. He will
not start now. As he has handled every hardship, he will meet this case head-on, he will work hard
to defend himself, and he will prevail.

Recognizing that a bail hearing is not the time to defend the merits of a criminal case, it is
relevant to bail that the defendant has made a clear commitment to defend an eminently defensible
case. This is such a case.

Finally, several courts in this District have recognized that the conditions at Metropolitan
Detention Center in Brooklyn are not fit for pre-trial detention. Just earlier this summer, an inmate
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was murdered.’ At least four inmates have died by suicide there in the past three years. Numerous
Courts in this district have raised concerns with the horrific conditions of detention there. See
United States v. Chavez, No. 22 Cr. 303 (JMF) (S.D.N.Y. Jan. 4, 2024), Dkt. 31 (describing the
conditions at MDC as “dreadful” and “longstanding” and noting that the issues with food
contamination and hazardous physical conditions were an “ongoing tragedy”); United States v.
Morgan, No. 19 Cr. 209 (RMB) (S.D.N.Y. May 5, 2020), Dkt. 90, Tr. 12-15 (describing the MDC
as “dirty,” “infested with drugs,” and plagued by violence); see also United States v. Boyd, No. 21
Cr. 486 (SHS) (S.D.N.Y. Feb. 3, 2022), Dkt. 74 (describing overcrowding, staffing issues, and
lockdowns at the MDC); United States v. Days, No. 19 Cr. 619 (CM) (S.D.N.Y. Apr. 29, 2021),
Dkt. 35, Tr. 19 (describing MDC conditions as “disgusting [and] inhuman as anything I’ve heard

about any Colombian prison, but more so because we’ re supposed to be better than that”).

Courts in the Eastern District of New York have shared the same concerns. See United
States v. Forbes, No. 22 Cr. 97 (RK) (E.D.N.Y.) (the court noted it was worried about MDC’s
conditions as one of the reasons for sentencing the defendant to a non-custodial sentence); United
States v. Colucci, 23 Cr. 417 (GRB) (E.D.N.Y. Aug 5, 2024) (sentencing a defendant to nine
months in prison, but ordering that if BOP designated the defendant to the MDC, the Court would
vacate the sentence and resentence to home incarceration.)

Conclusion

For the reasons set forth above, we move this Court to release Combs under the conditions
set forth above. Thank you for your consideration.

Mare Agnifilo
Teny R. Geragos

cc: Counsel for the Government (via ECF)

7 See John Annese, Inmate at Brooklyn’s Troubled Metropolitan Detention Center Is Stabbed To
Death, NY Daily News (Jun. 20, 2024) available at
https://www.nydailynews.com/2024/06/20/inmate-at-brooklyns-troubled-metropolitan-detention-
center-is-stabbed-to-death-sources/

8 See Fola Akinnibi & Marie-Rose Sheinerman, Beleaguered Brooklyn Jail Blasted by Candidates
in Crowded N.Y. Congressional Race, Bloomberg (Aug. 16, 2022), available at
https://www.bloomberg.com/news/articles/2022-08-16/ny-10-democratic-candidates-call-on-
feds-to-fix-brooklyn-jail.

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